Case 2:20-cv-00156 Document 49 Filed on 09/29/20 in TXSD Page 1 of 8
                                                             United States District Court
                                                               Southern District of Texas

                                                                  ENTERED
                                                              September 29, 2020
                                                               David J. Bradley, Clerk
Case 2:20-cv-00156 Document 49 Filed on 09/29/20 in TXSD Page 2 of 8
Case 2:20-cv-00156 Document 49 Filed on 09/29/20 in TXSD Page 3 of 8
Case 2:20-cv-00156 Document 49 Filed on 09/29/20 in TXSD Page 4 of 8
Case 2:20-cv-00156 Document 49 Filed on 09/29/20 in TXSD Page 5 of 8
Case 2:20-cv-00156 Document 49 Filed on 09/29/20 in TXSD Page 6 of 8
Case 2:20-cv-00156 Document 49 Filed on 09/29/20 in TXSD Page 7 of 8
Case 2:20-cv-00156 Document 49 Filed on 09/29/20 in TXSD Page 8 of 8
